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Salomon Maloof
8:21-cr-115-TPB-CPT

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

TAMPA DIVISION
UNITED STATES OF AMERICA Case Number: 8:21-cr-115-TPB-CPT
v. USM Number: 14673-104
SALOMON MALOOF Benjamin Stechschulte, ret.

JUDGMENT IN A CRIMINAL CASE

Defendant pleaded guilty to Count One of the Information and is adjudicated guilty of the following
offense:

Date Offense Count
Title & Section Nature of Offense Concluded Number
18 U.S.C. § 371 Conspiracy to Commit an Offense January 23,2017 One

Against the United States

Defendant is sentenced as provided in the following pages of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

IT IS ORDERED that Defendant must notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs and
special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
Defendant shall notify the Court and United States Attorney of any material change in Defendant’s
economic circumstances.

Date of Imposition of Judgment: August 31, 2021

GS.

TOM BARBER
UNITED STATES DISTRICT JUDGE

Signed: August 31, 2021

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IMPRISONMENT

Defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of TIME SERVED.

SUPERVISED RELEASE

No term of supervised release is imposed in this case.

RETURN
I have executed this judgment as follows:
Defendant delivered on to
at , with a certified copy of this

judgment.

UNITED STATES MARSHAL

Deputy U.S. Marshal

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CRIMINAL MONETARY PENALTIES

Defendant must pay the following total criminal monetary penalties under the schedule of
payments set forth in the Schedule of Payments.

Assessment Restitution Fine AVAA JVTA
Assessment* Assessment**
$100.00 N/A WAIVED N/A N/A

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SCHEDULE OF PAYMENTS

Having assessed Defendant’s ability to pay, payment of the total criminal monetary penalties is due
as follows:

Special Assessment: Shall be paid in full and is due immediately.

Unless the Court has expressly ordered otherwise in the special instructions above, if this judgment
imposes a period of imprisonment, payment of criminal monetary penalties shall be due during the
period of imprisonment. All criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the Clerk of the
Court, unless otherwise directed by the Court, the Probation Officer, or the United States attorney.

Defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3)
restitution interest, (4) AVAA assessment, (5) fine principal, (6) fine interest, (7) community
restitution, (8) JVTA assessment, and (9) penalties, and (10) costs, including cost of prosecution and
court costs.

* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pu. L. No. 115-299.

* Justice for Victims of Trafficking Act of 2015, Pub.L. No. 114-22.

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